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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

EDMUND A W AH,                                  *
       Plaintiff,                              .                                                        .,                  .-,,!
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v.



AMSHER COU.ECrlON SERVICES,INC.                .
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       Defendant.                              .                            *           . c-
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                                  NOTICE OF REMOVAL

       DefendantAmsherCollection Services,Inc. (" Amsher"), by undersignedcounsel,

respectfullysubmit this Notice of Removal,statingasfollows:

       1       On May 30, 2006,Plaintiff EdmundAwah filed this action in the District Court of

Marylandfor Baltimore City. The action was docketedasCase6863-2006. The soleDefendant

in the action is Amsher.

       2.      This casearisesout of unspecifiedallegationsconcerningplaintiff's "credit file."

Complaint. In the Complaint.Plaintiff allegesthat "[t]he report was fraught with material

misrepresentations
                 and fraudulentintent in violation of my consumerrights underFTC rules and

federallaw." Complaint.

       3.      On June 13, 2005,the District Court of Marylandfor Baltimore City issueda

summonsto Amsher. The summonsand the Complaint were apparentlyservedby certified mail,

restricteddelivery, to Amsher'sPresident.The summonsand the Complaint werereceivedby

Amsheron June23, 2006. This Notice of Removalis being fIled within 30 daysof serviceof

process.

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       4.     Pursuantto 28 U.S.C. § 1441,this caseis removableto the United StatesDistrict

Court for the District of Marylandon the groundsof federalquestionjurisdiction - the claim or

right assertedin this action arisesunderthat laws of the United States.~      In his Complaint.

A wah allegesthat Amshermadea falseor inaccurate"report on [his] credit report." As a resu1~

Plaintiff allegesthat "[ t ]he report wasfraught with materialmisrepresentations
                                                                               and fraudulent

intent in violation of [his] consumerrights underFfC rules and federallaw." Complaint.

       5.      A copy of all process,pleadings,andordersservedupon Defendantsare submitted

with this Notice asrequiredby 28 U.S.C. § 1446(a).

       6.      Promptly after filing this Notice, undersignedcounselshall rue a copy of this

Notice with the Clerk of the District Court of Maryland for Baltimore City.

       WHEREFORE,DefendantAmsherCollection Services,Inc. respectfullyrequeststhat

this Court assumejurisdiction in this caseas it hasbeenproperlyremovedfrom the District

Court of Marylandfor Baltimore City.



                                                    Irwin R. Kramer (Bar No. 04622)
                                                    JamesM. Connolly (Bar No. 23872)
                                                    KRAMER&; CONNOUY
                                                    500 RedlandCourt. Suite 211
                                                    Owings Mills, Maryland 21117
                                                    Tel: (410) 581-0070
                                                    Fax: (410) 581-1524
                                                    Counselfor DefendantAmsherCollection
                                                    Services




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 24, 2006, a copy of the foregoingwas mailed first
class,postageprepaid,to:

      EdmundAwah
      2406 MarboumeA venue,Apt. 3D
      Baltimore, Maryland 21230


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                                                          James M. Connolly
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